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                 IN THE UNITED STATES DISTRICT COURT

                  DISTRICT OF UTAH, CENTRAL DIVISION


 UNITED STATES OF AMERICA,             FELONY INFORMATION

                  Plaintiff,

  v.                                   VIOLATIONS:
                                       18 u.s.c. § 922(g),
  BURTON RANDY CHEEK, JR.,             Felon in Possession of Firearm and
                                       Ammunition.
                 Defendant.
                                       21 U.S.C. § 84l(a),
                                       Possession of Methamphetamine with Intent
                                       to Distribute.

                                       18 U.S.C. § 924(c),
                                       Use and Carry Firearm During and in Relation
                                       to Drug Trafficking Crime.

                                       21 u.s.c. § 844,
                                       Possession of Methamphetamine




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          The United States charges:

                                         COUNT I
                      (Felon in Possession of Firearm and Ammunition)

      On or about August 17, 2017, in the Central Division of the District of Utah,

                              BURTON RANDY CHEEK, JR.,

defendant herein, having been convicted of a crime punishable by imprisonment for a

term exceeding one year, did knowingly possess in and affecting interstate commerce a

firearm and ammunition--that is a Hi-Point 9mm handgun and associated ammunition, all

in violation of 18 U.S.C. § 922(g)(l) and punishable under 18 U.S.C. §§ 924(a)(2) and

924(e).



                                       COUNT II
                  (Possession of Methamphetamine with Intent to Distribute)

          On or about August 17, 201 7, in the Central Division of the District of Utah,

                              BURTON RANDY CHEEK, JR.,

defendant herein, did knowingly and intentionally possess with intent to distribute 50

grams or more of methamphetamine, a Schedule II controlled substance within the

meaning of21 U.S.C. § 812, in violation of 21 U.S.C. § 841(a)(l), and punishable under

21 U.S.C. § 84l(b )(l)(A).




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                                    COUNT III
       (Use and Carry Firearm During and In Relation to Drug Trafficking Crime)

       On or about August 17, 2017, in the Central Division of the District of Utah,

                            BURTON RANDY CHEEK, JR.,

defendant herein, did knowingly use and carry a firearm during and in relation to a drug

trafficking crime, as alleged in Count II of this Indictment, which count is incorporated

by reference herein, all in violation of 18 U.S.C. § 924(c)(1 ).



                                        COUNT IV
                     (Felon in Possession of Firearm and Ammunition)

       On or about November 6, 2017, in the Central Division of the District of Utah,

                            BURTON RANDY CHEEK, JR.,

defendant herein, having been convicted of a crime punishable by imprisonment for a

term exceeding one year, did knowingly possess in and affecting interstate commerce a

firearm and ammunition--that is a Taurus .38 caliber handgun and associated

ammunition, all in violation of 18 U.S.C. § 922(g)(l) and punishable under 18 U.S.C.

§§ 924(a)(2) and 924(e).




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                                       COUNTV
                            (Possession of Methamphetamine)
                                                      "
      On or about November 6, 2017, in the Central Division of the District of Utah,

                           BURTON RANDY CHEEK, JR.,

defendant herein, did knowingly and intentionally possess methamphetamine, a Schedule

II controlled substance within the meaning of 21 U.S.C. § 812, in violation of 21 U.S.C.

§ 844, and punishable under 21 U.S.C. § 844.



           NOTICE.OF INTENT TO SEEK CRIMINAL FORFEITURE

       As a result of the offenses in Counts I-IV, the above-named defendant shall forfeit

to the United States pursuant to 18 U.S.C. § 924(d)(l), all firearms or ammunition

involved in or used in any knowing violation of 18 U.S.C. § 922, 18 U.S.C. § 924(c), or

21 U.S.C. § 841(a)(l), including but not limited to the firearms listed in Counts I and IV.



JOHN W. HUBER
United Stat s Attorney




Assist nt United States Attorney




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